     Case: 1:22-cv-01541 Document #: 11 Filed: 04/11/22 Page 1 of 1 PageID #:21



     IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF
                          ILLINOIS EASTERN DIVISION


NICOLE STONE-BACCHUS as Independent                      )
Administrator of the Estate of SHEIK BACCHUS             )
deceased,                                                )
                                                         )
                         Plaintiff,                      )
        v.                                               )       Case No. 1:22-cv-01541
                                                         )
EVERTON BARNETT, O11 LOGISTICS, INC.,                    )       Assigned Judge:
O11 NETWORK, INC.                                        )       Honorable John F. Kness
                                                         )       Designated Magistrate Judge:
                                                         )       Honorable Jeffrey Cummings
                         Defendants.                     )


      PLAINTIFF’S RULE 41(a)(1)(A) NOTICE OF VOLUNTARY DISMISSAL WITHOUT
                     PREJUDICE AGAINST ALL DEFENDANTS


        Plaintiff, by undersigned Counsel, hereby voluntarily dismisses his complaint, without prejudice,

against Defendants, EVERTON BARNETT, O11 LOGISTICS, INC., O11 NETWORK, INC., pursuant

to Fed. R. Civ. P. 41(a)(1)(A).




WHITING LAW GROUP, LTD.                                          /s/ Timothy Whiting
Timothy M. Whiting                                               One of the Attorneys for Plaintiffs
Jennifer M. Rice
Allison L. Hostetler
901 W. Jackson Blvd., Suite 400
Chicago, IL 60607
T: (312) 372-1655
F: (312) 279-1111
E: eservice@whitinglawgroup.com

WITHERITE LAW GROUP
Martin Futrell
600 Peachtree St. NE, Suite 4010
Atlanta, GA 30308
T: (470) 881-8804
F: (470) 881-8820
E: Martin.Futrell@witheritelaw.com
